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TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Amy Gould
CC.          Tony Bergamo, Steve Dolnick, Lorraine Doyle, Anna Seddio, Alva Acosta, Steve Rossi,
             Clive Spagnoli, Angela Vigorito, Vernon Jefferson, Jeff Epstein, Keri Constable, Oneeka Williams, Cynthia Howard
DATE:        October 12, 2012


                                          LEGAL ACTION UPDATE REPORT


                                                AMOUNT         # OF MONTHS          CURRENT
APT          TENANT                            SUED FOR          SUED FOR           O/S RENT       STATUS




200 RECTOR PLACE -


3H      DA   DELLA VENTURA                       $6,417              2+               $6,417       3 DAY OUT FOR SERVICE


24D     DA   LINES                              $13,145              3+              $17,312       EVICTION SCHEDULED FOR 10/18


28H     DA   STANGER                             $8,950              3+               $8,950       3 DAY OUT FOR SERVICE


44A     DA   ADVANCED TRADING PTNRS             $13,700              2+              $13,700       3 DAY OUT FOR SERVICE




                                                                                                                                  LD000135
